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JERRY THOMAS SPE|GHT
Diane Smothers, FPD
Defense Attorney
109 S. High|and Avenue, Ste. B-8
Jackson, TN 38301

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the |ndictment on Deoember 07, 2004.
According|y, the court has adjudicated that the defendant is guilty of the following

offense(s):
Date Offense Count
Tit|e & Se¢tion Nature of Offense Concluded Numberjsj
18 U.S.C. § 922(g) Convicted Felon in Possession of a 09/10/2004 1
Firearm Shipped in interstate
Commerce

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of |mposition of Sentence:
Defendant’s Date of Birth: 01/17/1962 June 08, 2005
Deft’s U.S. |Vlarshal No.: 19903-076

Defendant’s l\/|ailing Address:
211 C|ay Street
Clinton, KY 42031

    

[) ' QFM
JAN| D. TODD

UN|TED STATES D|STR|CT JUDGE

Thtsdocum¢nt¢nwndonmodockot _lnoompllanoo
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Case No: 1:O4cr10084-01-T Defendant Name: Jerry Thomas Speight Page 2 of 4
|MPR|SONMENT
The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 175 Months as to the One (1) Count indictment,
to run consecutively with sentences which the defendant is currently serving in the
Kentucky Bureau of Corrections.

The Court recommends to the Bureau of Prisons: institution as close to defendants
home in Kentucky as possible

The defendant is remanded to the custody of the United States Niarshai.

RETURN

i have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES iViARSi-iAL
By:

 

Deputy U.S. i\/iarshai

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Case No: 1:04cr10084-01-T Defendant Name: Jerry Thomas Speight Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 5 years as to the One (1) Count lndictment, to run consecutively to the
sentences which the defendant is currently serving in the Kentucky Bureau of
Corrections.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised reiease, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicia| district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation ocher and follow the instructions of
the probation ofiicer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance',

7. The defendant shall not frequent places where controlled substances are illegally soldl used,
distributed, or administered;

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Case No: 1:04cr10084-01-T Defendant Name: Jerry Thomas Speight Page 4 of4

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit connscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shali be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Nionetary Pena|ties sheet of this judgmentl

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date ofjudgment, pursuant to 18 U.S.C. §
3612(f). Aii of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

$100.00

The Special Assessment shall be due immediately
FlNE
No fine imposed.

REST|TUT|ON

No restitution was ordered.

DISTRIC COURT - WESERNT D"T'CT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 1:04-CR-10084 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson7 TN 38301

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

